
Yellow River Acupuncture, P.C., as Assignee of Ira Sutton, Appellant, 
againstMVAIC, Respondent. 




Law Offices of Melissa Betancourt, P.C. (Melissa Betancourt of counsel), for appellant.
Marshall &amp; Marshall, PLLC (Tracy Bader Pollak of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Odessa Kennedy, J.), entered March 19, 2018. The order granted defendant's motion for summary judgment dismissing the complaint and denied plaintiff's cross motion for summary judgment.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted a motion by defendant Motor Vehicle Accident Indemnification Corporation (sued herein as MVAIC) for summary judgment dismissing the complaint and denied plaintiff's cross motion for summary judgment.
For the reasons stated in Yellow River Acupuncture, P.C., as Assignee of Ira Sutton v MVAIC (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2018-1076 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: October 18, 2019










